
PER CURIAM.
We affirm appellant’s conviction for the sale or delivery of cocaine. However, we agree with appellant that the trial court erred by failing to make specific findings required under the habitual offender statute. Van Bryant v. State, 602 So.2d 582 (Fla. 4th DCA 1992). Accordingly, we reverse appellant’s sentence as a habitual offender and remand this matter to the trial court for resentencing. On remand, the trial court may. again sentence appellant as a habitual offender upon making the requisite findings as required by section 775.084(l)(a), Florida Statutes (1991).
DELL and GUNTHER, JJ., and ALDERMAN, JAMES E., Senior Justice, concur.
